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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

MIKE HOOD,

       Plaintiff,

vs.

TEXAS FARMERS INSURANCE
COMPANY; FIRE INSURANCE
EXCHANGE by Fire Underwriters                                           No. CIV 16-0151 JB/LF
Association, Attorney-in-Fact; FARMERS
INSURANCE EXCHANGE by Farmers
Underwriters Association, Attorney-in-Fact;
FIRE INSURANCE EXCHANGE;
FARMERS INSURANCE EXCHANGE;
KIM GARDETTO; BRUCE LITMAN and
DOES 1 to 50,

       Defendants.

                 ORDER ADOPTING THE MAGISTRATE JUDGE’S
             PROPOSED FINDINGS AND RECOMMENDED DISPOSITION

       THIS MATTER comes before the Court on the Magistrate Judge’s Proposed Findings

and Recommended Disposition, filed April 9, 2017 (Doc. 31)(“PFRD”). In the PFRD, the

Honorable Laura Fashing, United States Magistrate Judge, recommended denying the Plaintiff’s

Request for Relief from Dismissal, filed January 9, 2017 (Doc. 28)(“Motion”). The PFRD

required the parties to file objections no later than May 3, 2017. See PFRD at 6.

       On April 19, 2017, Plaintiff Mike Hood filed a document entitled “Relief from

Dismissal,” in which he “prays this Honorable Court to Deny the Defendant’s Motion to Dismiss

and Motion for Sanction . . . .”     Relief From Dismissal at 1, filed April 19, 2017 (Doc.

32)(“Objections”). There is no pending motion to dismiss or motion for sanctions. Accordingly,

the Court construes Hood’s submission as Objections to Judge Fashing’s PFRD. Nevertheless,
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Hood’s Objections contain no specific factual or legal points of diversion from the PFRD, and

thus, the Court will not conduct a de novo review of Judge Fashion’s recommended disposition.

Rather, the Court will review the PFRD to determine whether it is clearly erroneous, arbitrary,

obviously contrary to law, or an abuse of discretion. Applying this standard, the Court concludes

that Judge Fashing’s recommended disposition is correct. The Court accordingly adopts Judge

Fashing’s recommendation and denies Hood’s Motion.

          LAW REGARDING OBJECTIONS TO PROPOSED FINDINGS AND
                         RECOMMENDATIONS

       District courts may refer dispositive motions to a Magistrate Judge for a recommended

disposition. See Fed. R. Civ. P. 72(b)(1) (“A magistrate judge must promptly conduct the

required proceedings when assigned, without parties’ consent, to hear a pretrial matter

dispositive of a claim or defense . . . .”). Rule 72(b)(2) governs objections: “Within 10 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations.” Finally, when resolving

objections to a Magistrate Judge’s proposal, “the district judge must determine de novo any part

of the magistrate judge’s disposition that has been properly objected to. The district judge may

accept, reject, or modify the recommended disposition; receive further evidence; or return the

matter to the magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3).

       Similarly, 28 U.S.C. § 636 provides:

       A judge of the court shall make a de novo determination of those portions of the
       report or specified proposed findings or recommendations to which objection is
       made. A judge of the court may accept, reject, or modify, in whole or in part, the
       findings or recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1)(C).




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       “The filing of objections to the magistrate’s report enables the district judge to focus

attention on those issues -- factual and legal -- that are at the heart of the parties’ dispute.”

United States v. One Parcel of Real Property, With Buildings, Appurtenances, Improvements,

and Contents, 73 F.3d 1057, 1059 (10th Cir. 1996)(“One Parcel”)(quoting Thomas v. Arn, 474

U.S. 140, 147 (1985)). As the Tenth Circuit has noted, “the filing of objections advances the

interests that underlie the Magistrate’s Act,[1] including judicial efficiency.” One Parcel, 73 F.3d

at 1059 (citing Niehaus v. Kansas Bar Ass’n, 793 F.2d 1159, 1165 (10th Cir. 1986); United

States v. Walters, 638 F.2d 947, 950 (6th Cir. 1981)).

       The Tenth Circuit held in One Parcel “that a party’s objections to the magistrate judge’s

report and recommendation must be both timely and specific to preserve an issue for de novo

review by the district court or for appellate review.” One Parcel, 73 F.3d at 1060. “To further

advance the policies behind the Magistrate’s Act, [the Tenth Circuit], like numerous other

circuits, ha[s] adopted ‘a firm waiver rule’ that ‘provides that the failure to make timely

objections to the magistrate’s findings or recommendations waives appellate review of both

factual and legal questions.’” One Parcel, 73 F.3d at 1059 (citations omitted). In addition to

requiring specificity in objections, the Tenth Circuit has stated that “[i]ssues raised for the first

time in objections to the magistrate judge’s recommendation are deemed waived.” Marshall v.

Chater, 75 F.3d 1421, 1426 (10th Cir. 1996). See United States v. Garfinkle, 261 F.3d 1030,

1030-31 (10th Cir. 2001)(“In this circuit, theories raised for the first time in objections to the

magistrate judge’s report are deemed waived.”). And, in an unpublished opinion, the Tenth

Circuit stated that “the district court correctly held that [a petitioner] had waived [an] argument




       1
           28 U.S.C. §§ 631-39.



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by failing to raise it before the magistrate.” Pevehouse v. Scibana, 229 F. App’x 795, 796 (10th

Cir. 2007)(unpublished).2

       In One Parcel, the Tenth Circuit, in accord with other Courts of Appeals, expanded the

waiver rule to cover objections that are timely but too general. See One Parcel, 73 F.3d at 1060.

The Supreme Court of the United States -- in the course of approving the United States Court of

Appeals for the Sixth Circuit’s use of the waiver rule -- has noted:

       It does not appear that Congress intended to require district court review of a
       magistrate’s factual or legal conclusions, under a de novo or any other standard,
       when neither party objects to those findings. The House and Senate Reports
       accompanying the 1976 amendments do not expressly consider what sort of
       review the district court should perform when no party objects to the magistrate’s
       report. See S. Rep. No. 94-625, pp. 9-10 (1976)(hereafter Senate Report); H.R.
       Rep. No. 94-1609, p. 11 (1976); U.S. Code Cong. & Admin. News 1976, p. 6162
       (hereafter House Report). There is nothing in those Reports, however, that
       demonstrates an intent to require the district court to give any more consideration
       to the magistrate judge’s report than the court considers appropriate. Moreover,
       the Subcommittee that drafted and held hearing on the 1976 amendments had
       before it the guidelines of the Administrative Office of the United States Courts
       concerning the efficient use of magistrates. Those guidelines recommended to the
       district courts that “[w]here a magistrate makes a finding or ruling on a motion or
       an issue, his determination should become that of the district court, unless specific
       objection is filed within a reasonable time.” See Jurisdiction of the United States
       Magistrates, Hearings on S. 1283 before the Subcommittee on Improvements in
       Judicial Machinery of the Senate Committee on the Judiciary, 94th Cong., 1st

       2
        Pevehouse v. Scibana is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A)(“Unpublished opinions are not precedential, but may be cited for their
persuasive value.”). The Tenth Circuit has stated:

       In this Circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its
       disposition, we allow a citation to that decision.

United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005)(citations omitted). The Court
concludes that Pevehouse v. Scibana has persuasive value with respect to a material issue, and
will assist the Court in its disposition of this Memorandum Opinion and Order.



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       Sess., 24 (1975)(emphasis added)(hereafter Senate Hearings). The Committee
       also heard Judge Metzner of the Southern District of New York, the chairman of a
       Judicial Conference Committee on the administration of the magistrate system,
       testify that he personally followed that practice. See id., at 11 (“If any objections
       come in, . . . I review [the record] and decide it. If no objections come in, I
       merely sign the magistrate’s order.”). The Judicial Conference of the United
       States, which supported the de novo standard of review eventually incorporated in
       § 636(b)(1)(C), opined that in most instances no party would object to the
       magistrate’s recommendation, and the litigation would terminate with the judge’s
       adoption of the magistrate’s report. See Senate Hearings, at 35, 37. Congress
       apparently assumed, therefore, that any party who was dissatisfied for any reason
       with the magistrate’s report would file objections, and those objections would
       trigger district court review. There is no indication that Congress, in enacting
       § 636(b)(1)(C), intended to require a district judge to review a magistrate’s report
       to which no objections are filed. It did not preclude treating the failure to object
       as a procedural default, waiving the right to further consideration of any sort. We
       thus find nothing in the statute or the legislative history that convinces us that
       Congress intended to forbid a rule such as the one adopted by the Sixth Circuit.

Thomas v. Arn, 474 U.S. at 150-52 (emphasis in original)(footnotes omitted).

       The Tenth Circuit also noted, “however, that ‘[t]he waiver rule as a procedural bar need

not be applied when the interests of justice so dictate.’” One Parcel, 73 F.3d at 1060 (quoting

Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991)(“We join those circuits that have

declined to apply the waiver rule to a pro se litigant’s failure to object when the magistrate’s

order does not apprise the pro se litigant of the consequences of a failure to object to findings and

recommendations.”)(citations omitted). Cf. Thomas v. Arn, 474 U.S. at 154 (noting that, while

“[a]ny party that desires plenary consideration by the Article III judge of any issue need only

ask,” a failure to object “does not preclude further review by the district judge, sua sponte or at

the request of a party, under a de novo or any other standard”). In One Parcel, the Tenth Circuit

noted that the district judge had decided sua sponte to conduct a de novo review despite the lack

of specificity in the objections, but the Tenth Circuit held that it would deem the issues waived

on appeal because it would advance the interests underlying the waiver rule. See 73 F.3d at

1060-61 (citing cases from other Courts of Appeals where district courts elected to address



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merits despite potential application of waiver rule, but the Courts of Appeals opted to enforce

waiver rule).

       Where a party files timely and specific objections to the Magistrate Judge’s proposed

findings and recommendations, on “dispositive motions, the statute calls for a de novo

determination, not a de novo hearing.” United States v. Raddatz, 447 U.S. 667, 674 (1980).

“[I]n providing for a ‘de novo determination’ rather than a de novo hearing, Congress intended to

permit whatever reliance a district judge, in the exercise of sound judicial discretion, chose to

place on a magistrate’s proposed findings and recommendations.” United States v. Raddatz, 447

U.S. at 676 (quoting 28 U.S.C. § 636(b); citing Mathews v. Weber, 423 U.S. 261, 275 (1976)).

The Tenth Circuit requires a “district court to consider relevant evidence of record and not

merely review the magistrate judge’s recommendation” when conducting a de novo review of a

party’s timely, specific objections to the magistrate’s report. In re Griego, 64 F.3d 580, 583-84

(10th Cir. 1995). “When objections are made to the magistrate’s factual findings based on

conflicting testimony or evidence . . . the district court must, at a minimum, listen to a tape

recording or read a transcript of the evidentiary hearing.” Gee v. Estes, 829 F.2d 1005, 1008-09

(10th Cir. 1987).

       A district court must “clearly indicate that it is conducting a de novo determination”

when a party objects to the Magistrate Judge’s report “based upon conflicting evidence or

testimony.” Gee v. Estes, 829 F.2d at 1009. On the other hand, a district court fails to meet the

requirements of 28 U.S.C. § 636(b)(1) when it indicates that it gave “considerable deference to

the magistrate’s order.” Ocelot Oil Corp. v. Sparro Indus., 847 F.2d 1458, 1464 (10th Cir.

1988). A district court need not, however, “make any specific findings; the district court must

merely conduct a de novo review of the record.” Garcia v. City of Albuquerque, 232 F.3d 760,




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766 (10th Cir. 2000).     “[T]he district court is presumed to know that de novo review is

required . . . . Consequently, a brief order expressly stating the court conducted de novo review

is sufficient.” Northington v. Marin, 102 F.3d 1564, 1570 (10th Cir. 1996)(citing In re Griego,

64 F.3d at 583-84). “[E]xpress references to de novo review in its order must be taken to mean it

properly considered the pertinent portions of the record, absent some clear indication otherwise.”

Bratcher v. Bray-Doyle Indep. Sch. Dist. No. 42, 8 F.3d 722, 724 (10th Cir. 1993). The Tenth

Circuit has previously held that a district court properly conducted a de novo review of a party’s

evidentiary objections when the district court’s “terse” order contained one sentence for each of

the party’s “substantive claims” and did “not mention his procedural challenges to the

jurisdiction of the magistrate to hear the motion.” Garcia v. City of Albuquerque, 232 F.3d at

766. The Tenth Circuit has explained that any brief district court order that “merely repeat[s] the

language of § 636(b)(1) to indicate its compliance” is sufficient to demonstrate that the district

court conducted a de novo review:

       It is common practice among district judges in this circuit to make such a
       statement and adopt the magistrate judges’ recommended dispositions when they
       find that magistrate judges have dealt with the issues fully and accurately and that
       they could add little of value to that analysis. We cannot interpret the district
       court’s statement as establishing that it failed to perform the required de novo
       review.

In re Griego, 64 F.3d at 584.

       Notably, because a district court may place whatever reliance it chooses on a Magistrate

Judge’s proposed findings and recommendations, a district court “may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the magistrate,” 28 U.S.C. §

636(b)(1), as “Congress intended to permit whatever reliance a district judge, in the exercise of

sound judicial discretion, chose to place on a magistrate’s proposed findings and

recommendations,” United States v. Raddatz, 447 U.S. at 676 (emphasis omitted). See Bratcher



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v. Bray-Doyle Indep. Sch. Dist. No. 42, 8 F.3d at 724-25 (holding that the district court’s

adoption of the Magistrate Judge’s “particular reasonable-hour estimates” is consistent with the

de novo determination that 28 U.S.C. § 636(b)(1) and United States v. Raddatz require).

       Where no party objects to the Magistrate Judge’s proposed findings and recommended

disposition, the Court has, as a matter of course in the past and in the interests of justice,

reviewed the Magistrate Judge’s recommendations. In Pablo v. Soc. Sec. Admin., 2013 WL

1010401 (D.N.M. 2013)(Browning, J.), the plaintiff failed to respond to the Magistrate Judge’s

proposed findings and recommended disposition, and thus waived his right to appeal the

recommendations, but the Court nevertheless conducted a review. The Court generally does not,

however, “review the PF&RD de novo, because the parties had not objected thereto, but rather

review[s] the recommendations to determine whether they clearly erroneous, arbitrary, obviously

contrary to law, or an abuse of discretion.” Pablo v. Soc. Sec. Admin., 2013 WL 1010401, at *4.

The Court, thus, does not determine independently what it would do if the issues had come

before the Court first, but rather adopts the proposed findings and recommended disposition

where “[t]he Court cannot say that the Magistrate Judge’s recommendation . . . is clearly

erroneous, arbitrary, obviously contrary to law, or an abuse of discretion.” Pablo v. Soc. Sec.

Admin., 2013 WL 1010401, at *4. See Alexandre v. Astrue, 2013 WL 1010439, at *4 (D.N.M.

2013)(Browning, J.)(“The Court rather reviewed the findings and recommendations of the

Honorable Stephan M. Vidmar, United States Magistrate Judge, to determine if they are clearly

erroneous, arbitrary, obviously contrary to law, or an abuse of discretion. The Court determines

that they are not, and will therefore adopt the PFRD.”); Trujillo v. Soc. Sec. Admin., 2013 WL

1009050, at *5 (D.N.M. 2013)(Browning, J.)(adopting the proposed findings and conclusions,

noting: “The Court did not review the ARD de novo, because Trujillo has not objected to it, but




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rather reviewed the . . . findings and recommendations to determine if they are clearly erroneous,

arbitrary, obviously contrary to law, or an abuse of discretion, which they are not.”). This

review, which is deferential to the Magistrate Judge’s work when there is no objection,

nonetheless provides some review in the interest of justice, and seems more consistent with the

waiver rule’s intent than no review at all or a full-fledged review. Accordingly, the Court

considers this standard of review appropriate. See Thomas v. Arn, 474 U.S. at 151 (“There is

nothing in those Reports, however, that demonstrates an intent to require the district court to give

any more consideration to the magistrate’s report than the court considers appropriate.”). The

Court is reluctant to have no review at all where it issues an order adopting the Magistrate

Judge’s proposed findings and recommendations.

                                           ANALYSIS

       In the PFRD, Judge Fashing explains that, on several occasions, Hood failed to comply

with the Court’s orders. See PFRD at 1-2. In Hood’s Objections, he does not specifically object

to Judge Fashing’s PFRD as United States v. Raddatz requires. Instead, Hood explains -- for the

first time -- that he did not receive documents sent via email from Pacer, because his firewall

blocked them. See Objections at 1. This explanation does not specifically object to Judge

Fashing’s PFRD. Without specific objections, the Court cannot conduct the requisite de novo

review of Judge Fashing’s PFRD, and Hood has waived any specific objections or his right to

appeal Judge Fashing’s recommendations.

       In the absence of specific objections, the Court reviews the PFRD to determine whether it

is clearly erroneous, arbitrary, obviously contrary to law, or an abuse of discretion. See Pablo v.

Soc. Sec. Admin., 2013 WL 1010401, at *4. Having reviewed the PFRD under this standard, the

Court concludes that Judge Fashing’s findings and recommendations are not clearly erroneous,




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arbitrary, obviously contrary to law, or an abuse of discretion. Accordingly, the Court will adopt

Judge Fashing’s recommendations.

        IT IS ORDERED that: (i) the Magistrate Judge’s Proposed Findings and Recommended

Disposition, filed April 9, 2017 (Doc. 31), is adopted; and (ii) the Plaintiff’s Request for Relief

from Dismissal, filed January 9, 2017 (Doc. 28), is denied.




                                                          ________________________________
                                                          UNITED STATES DISTRICT JUDGE

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